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                                                                  United States Bankruptcy Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                       August 06, 2024
                                                                      Nathan Ochsner, Clerk




                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                     Case No.: 24-31497
                                           Chapter 7
HUGH P. SHANNONHOUSE
           DEBTOR.
                                      A HEARING ON THIS MOTION
                                 HAS BEEN SET FOR:
WILMINGTON SAVINGS FUND SOCIETY,
FSB NOT IN ITS INDIVIDUAL CAPACITY,
BUT SOLELY AS TRUSTEE OF GCAT
2019-RPL1 TRUST
            MOVANT                    August 6, 2024
                                      1:30 P.M.
vs.
HUGH P. SHANNONHOUSE
            RESPONDENT

____________________________/

    ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY
    AGAINST REAL PROPERTY AT 3930 FEAGAN ST., HOUSTON, TX 77007 AND
     WAIVER OF 30-DAY HEARING REQUIREMENT FILED BY WILMINGTON
     SAVINGS FUND SOCIETY, FSB, NOT IN ITS INDIVIDUAL CAPACITY, BUT
              SOLELY AS TRUSTEE OF GCAT 2019-RPL1 TRUST




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On July 12, 2024, a Motion for Relief from the Automatic Stay as to Real Property at 3930 Feagan

St., Houston, TX 77007 and Waiver of 30-Day Hearing Requirement (the “Motion”) was filed by

Wilmington Savings Fund Society, FSB, not in its individual capacity, but solely as trustee of

GCAT 2019-RPL1 Trust (the “Movant”) in the above-referenced case. The Court finds that the

Motion was properly served pursuant to the Federal and Local Rules of Bankruptcy Procedure and

that it contained the appropriate fourteen (14)-day negative notice language, pursuant to LBR

4001, which directed any party opposed to the granting of the relief sought by the Motion to file a

written response within fourteen days or the Motion would be deemed by the Court to be

unopposed. The Court finds that no objection or other written response to the Motion has been

timely filed by any party. Due to the failure of any party to file a timely written response, the

allegations contained in the Motion stand unopposed and, therefore, the Court finds that good

cause exists for the entry of the following order.

       IT IS THEREFORE ORDERED that the Motion for Relief from the Automatic Stay as

to Real Property at 3930 Feagan St, Houston, TX 77007 and Waiver of 30-Day Hearing

Requirement filed by Wilmington Savings Fund Society, FSB, not in its individual capacity, but

solely as trustee of GCAT 2019-RPL1 Trust on July 12, 2024, is hereby GRANTED so as to

authorize: that the automatic stay is terminated against Movant and the real property located at

3930 Feagan St., Houston, TX 77007; Movant, its successors and/or assigns, are permitted to

enforce all rights and remedies available to Movant under the loan documents and Texas law,

foreclosure and taking possession of the Property; Movant contacting the Debtors by telephone or

written correspondence related to such activities; Movant pursuing any additional state law

remedies available to Movant; that this Order is binding and effective despite any conversion of

this bankruptcy case to a case under any other chapter of the Bankruptcy Code; that Movant is




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relieved from complying with the requirements set forth in Federal Rule of Bankruptcy Procedure

3002.1 with respect to the Property.

       IT IS FURTHER ORDERED that, since the Motion was unopposed by any party, the

fourteen (14)-day stay period otherwise imposed by Fed. R. Bankr. P. 4001(3) shall not be

applicable to this Order.



                                 CERTIFICATE OF SERVICE
Signed: August 06, 2024
       I certify that I have caused to be served a copy of the foregoing by first class mail, postage
prepaid or by CM/ECF electronic filing upon the parties listed below on this day.

Dated: July 12, 2024                          /s / Brent Martinelli
                                              Brent Martinelli,Eduardo
                                                                Esq. V. Rodriguez
                                                       Chief United
                                              Texas Bar No. 24037037States Bankruptcy Judge

Copies Furnished To:

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